Case: 1:14-cv-05509 Document #: 748 Filed: 02/15/21 Page 1 of 32 PageID #:18644




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


In Re:                                    Case Nos. 14-CV-5509, 15-CV-1681 &
                                                    15-CV-6010
Jimmy John’s Overtime Litigation
                                          Honorable Charles P. Kocoras

                                          Magistrate Heather K. McShain



          MEMORANDUM OF LAW IN SUPPORT OF JOINT MOTION FOR
         APPROVAL OF COLLECTIVE ACTION SETTLEMENT AGREEMENT
  Case: 1:14-cv-05509 Document #: 748 Filed: 02/15/21 Page 2 of 32 PageID #:18645




                                                   TABLE OF CONTENTS

INTRODUCTION .......................................................................................................................... 1

FACTUAL AND PROCEDURAL BACKGROUND.................................................................... 2

OVERVIEW OF SETTLEMENT AGREEMENT TERMS .......................................................... 5

     A.         The Proposed Collective Action Members And Collective Action Period .................. 5

     B.         Settlement Amount And Payments To Collective Action Members ............................ 6

     C.         Release Of Claims......................................................................................................... 6

     D.         Settlement Administration ............................................................................................ 7

     E.         Notice Of Settlement..................................................................................................... 7

     F.         Extra Procedural Protections By Allowing Opt-In Plaintiffs The Right To
                Object And Opt Out Of The Settlement ....................................................................... 7

     G.         Service Awards ............................................................................................................. 9

     H.         Attorneys’ Fees And Costs ........................................................................................... 9

ARGUMENT ................................................................................................................................ 10

     I.         LEGAL STANDARD ................................................................................................. 10

     II.        THE PROPOSED SETTLEMENT IS THE PRODUCT OF CONTESTED
                LITIGATION .............................................................................................................. 11

     III.       THE SETTLEMENT AGREEMENT REFLECTS A FAIR AND
                REASONABLE RESOLUTION OF A BONA FIDE DISPUTE .............................. 11

                     1.         A Bona Fide Dispute Between The Parties Existed Over
                                Defendant’s “Employer” Status ................................................................ 11

                     2.         The Settlement Agreement Is Fair And Reasonable ................................. 13

     IV.        NAMED PLAINTIFFS WERE CRITICAL TO THE RESOLUTION OF THE
                CLAIMS AND ARE ENTITLED TO MODEST SERVICE AWARDS ................... 20

     V.         COLLECTIVE ACTION LEAD COUNSEL’S DISCOUNTED
                ATTORNEY’S FEES AND COSTS SHOULD BE APPROVED............................. 21

CONCLUSION ............................................................................................................................. 22




                                                                      i
  Case: 1:14-cv-05509 Document #: 748 Filed: 02/15/21 Page 3 of 32 PageID #:18646




                                               TABLE OF AUTHORITIES

                                                                                                                              Page(s)

Cases

Adams v. Walgreen Co.,
   No. 14-CV-1208-JPS, 2015 WL 4067752 (E.D. Wis. July 2, 2015) .......................................10

Bainter v. Akram Investments, LLC,
   No. 17-CV-7064, 2018 WL 4943884 (N.D. Ill. Oct. 9, 2018) ..................................................8

In Re BankAmerica Corp. Sec. Litig.,
    210 F.R.D. 694 (E.D. Mo. 2002) .............................................................................................15

Bozak v. FedEx Ground Package Sys., Inc.,
   No. 11-CV-738, 2014 WL 3778211 (D. Conn. July 31, 2014) .................................................8

Brewer v. Molina Healthcare, Inc.,
   No. 16-CV-09523, 2018 WL 2966956 (N.D. Ill. June 12, 2018) ..............................................8

Briggs v. PNC Fin. Servs. Group, Inc.,
   No. 15-CV-10447, 2016 WL 7018566 (N.D. Ill. Nov. 29, 2016) (St. Eve, J.)..............8, 15, 20

Brunner, et al. v. Jimmy John’s, LLC, et al.,
   No. 14-CV-5509 ....................................................................................................................2, 3

Burkholder v. City of Ft. Wayne,
   750 F. Supp. 2d 990 (N.D. Ind. 2010) .....................................................................................10

Burns v. Respite Care/Care in the Home, Inc.,
   No. 17-CV-00971 (N.D. Ill. Mar. 1, 2018) ................................................................................8

Carr v. Bob Evans Farms, Inc.,
   No. 1:17-CV-1875, 2018 WL 7508650 (N.D. Ohio July 27, 2018) ..........................................8

Castillo v. Noodles & Co.,
   No. 16-CV-03036, 2016 WL 7451626 (N.D. Ill. Dec. 23, 2016) ....................................7, 8, 20

Cook v. Niedert,
   142 F.3d 1004 (7th Cir. 1998) .................................................................................................20

Day v. NuCO2 Mgmt., LLC,
   No. 18-CV-02088, 2018 WL 2473472 (N.D. Ill. May 18, 2018) ..............................................8

Fernandez v. Victoria Secret Stores, LLC,
   No. 08-CV-04149, 2008 WL 8150856 (C.D. Cal. July 21, 2008) ...........................................18




                                                                    ii
  Case: 1:14-cv-05509 Document #: 748 Filed: 02/15/21 Page 4 of 32 PageID #:18647




Furman v. At Home Stores, LLC,
   No. 16-CV-08190, 2017 WL 1730995 (N.D. Ill. May 1, 2017) ................................................8

Genesis Healthcare Corp. v. Symczyk,
   133 S. Ct. 1523 (2013) ...............................................................................................................7

Great Neck Capital Appreciation Inv. P’Ship., LLP v. PriceWaterhouseCoopers,
   LLP,
   212 F.R.D. 400 (E.D. Wis. 2002) ............................................................................................14

Halle v. W. Penn Allegheny Health Sys. Inc.,
   842 F.3d 215 (3d Cir. 2016).......................................................................................................9

Hart v. RCI Hosp. Holdings, Inc.,
   No. 09-CV-3043 PAE, 2015 WL 5577713 (S.D.N.Y. Sept. 22, 2015) ...................................20

Heuberger v. Smith,
   No. 3:16-CV-386 JD, 2019 WL 3030312 (N.D. Ind. Jan. 4, 2019) ..........................................8

Johnson v. Ashley Furniture Indus.,
   No. 13-CV-2445, 2016 WL 866957 (S.D. Cal. Mar. 7, 2016) ................................................18

Knox v. Jones Grp.,
   No. 15-CV-1738, 2017 WL 3834929 (S.D. Ind. Aug. 31, 2017) ............................................20

Koszyk v. Country Fin.,
   No. 16-CV-3571, 2016 WL 5109196 (N.D. Ill. Sept. 16, 2016) .............................................20

Lucas v. Vee Pak, Inc.,
   No. 12-CV-09672, 2017 WL 6733688 (N.D. Ill. Dec. 20, 2017) ............................................14

Lukas v. Advocate,
   No. 1:14-CV-2740, D.E. 150 (N.D. Ill. June 29, 2016)...........................................................20

Lynn’s Food Stores, Inc. v. United States,
   679 F.2d 1350 (11th Cir. 1982) ...................................................................................10, 13, 14

Moore v. Ackerman Inv. Co.,
  No. 07-CV-3058, 2009 WL 2848858 (N.D. Iowa Sept. 1, 2009)..............................................8

Parker v. Jekyll & Hyde Entm’t Holdings, L.L.C.,
   No. 08-CV-7670, 2010 WL 532960 (S.D.N.Y. Feb 9, 2010)..................................................20

Puglisi v. TD Bank, N.A.,
   No. 13-CV-637 GRB, 2015 WL 4608655 (E.D.N.Y. July 30, 2015)......................................20

Reyes v. Buddha-Bar NYC,
   No. 08-CV-2494, 2009 WL 5841177 (S.D.N.Y. May 28, 2009) ............................................21



                                                                   iii
  Case: 1:14-cv-05509 Document #: 748 Filed: 02/15/21 Page 5 of 32 PageID #:18648




Roberts v. Apple Sauce, Inc.,
   No. 12-CV-830, 2014 WL 4804252 (N.D. Ind. Sept. 25, 2014) .............................................13

Shames v. Hertz Corp.,
   No. 07-CV-2174, 2012 WL 5392159 (S.D. Cal. Nov. 5, 2012) ..............................................18

Soto v. Wings R Us Romeoville, Inc.,
   No. 15-CV-10127, 2018 WL 1875296 (N.D. Ill. Apr. 16, 2018) ............................................20

In Re Southwest Airlines Voucher Litig.,
    799 F.3d 701 (7th Cir. 2015) ...................................................................................................16

Stokes v. Consol. Wings Inv., LLC,
    No. 15-CV-01932-RLY-DKL (S.D. Ind.), ECF NO. 61 ...........................................................8

Torres v. Pet Extreme,
   No. 1:13-CV-01778, 2015 WL 224752 (E.D. Cal. Jan. 15, 2015) ..........................................18

In re Toys “R” Us-Del., Inc.-Fair & Accurate Credit Transactions Act (FACTA)
    Litig.,
    295 F.R.D. 438 (C.D. Cal. 2014) .............................................................................................17

Watson v. BMO Fin. Corp. and BMO Harris Bank, N.A.,
   No. 15-CV-11881 (N.D. Ill. July 11, 2016) (St. Eve, J.), ECF Nos. 34, 39 ..............................8

Watson v. Jimmy John’s, LLC, et al.,
   No. 15-CV-768 (S.D. Ohio).......................................................................................................2

Whiton v. Jimmy John’s, LLC, et al.,
   Case No. 15-CV-1681 ................................................................................................................2

Young v. Polo Retail, LLC,
   No. 02-CV-4546, 2007 WL 951821 (N.D. Cal. Mar. 28, 2007)..............................................18

Zolkos v. Scriptfleet, Inc.,
   No. 12-CV-8230, 2015 WL 4275540 (N.D. Ill. July 13, 2015)...............................................20

Statutes

Bloomberg BNA, The Fair Labor Standards Act, 17.X.D. (3d ed. 2017) .......................................8

FLSA ...................................................................................................................................... passim

FLSA Section 16 ..............................................................................................................................2

FLSA Section 216(b) .......................................................................................................................8

Illinois Minimum Wage Law, 820 ILCS 105/1, et seq. ...................................................................1



                                                                       iv
  Case: 1:14-cv-05509 Document #: 748 Filed: 02/15/21 Page 6 of 32 PageID #:18649




Ohio Wage Laws, O.R.C. § 4111.01, et seq. ...................................................................................1

Plaintiffs and the Opt-In Plaintiffs under the Fair Labor Standards Act, 29 U.S.C.
    § 201, et seq. ..............................................................................................................................1

Other Authorities

Fed. R. Civ. P. 23 ...................................................................................................................7, 8, 20

Newberg on Class Actions § 11.41 ................................................................................................14




                                                                        v
 Case: 1:14-cv-05509 Document #: 748 Filed: 02/15/21 Page 7 of 32 PageID #:18650




       Plaintiffs Lara Bailey (substituted for original plaintiff Emily Brunner), Caitlin Turowski,

Alexander Whiton, and Scott Watson (collectively, “Plaintiffs”); and Defendants Jimmy John’s

LLC, Jimmy John’s Enterprises, LLC, and Jimmy John’s Franchise, LLC (collectively “the

Jimmy John’s Defendants,” and together with Plaintiffs, the “Parties”), through their respective

counsel, hereby jointly move the Court for an order approving the proposed settlement the

Parties have reached in this action under 29 U.S.C. § 216(b). As discussed more fully below, the

settlement proposed by the parties is a reasonable compromise of the Parties’ bona fide dispute

and should be approved.

                                       INTRODUCTION

       Plaintiffs, on behalf of the Opt-In Plaintiffs who joined this lawsuit as a conditionally

certified collective action, and the Jimmy John’s Defendants, seek preliminary approval of the

Parties’ Settlement Agreement. Under the terms of the Settlement Agreement, the Jimmy John’s

Defendants will pay approximately $1,835,000 to resolve the overtime and unpaid wage claims

brought by Plaintiffs and the Opt-In Plaintiffs under the Fair Labor Standards Act (“FLSA”), 29

U.S.C. § 201, et seq., the Illinois Minimum Wage Law (“IMWL”), 820 ILCS 105/1, et seq., and

the Ohio Wage Laws, O.R.C. § 4111.01, et seq.

       Because the proposed Settlement Agreement was made to compromise bona fide

disputed claims, the Parties submit that it should be approved by the Court, and that the Court

should grant this motion and enter an order, in the form attached hereto as Exhibit 1-C, that (1)

grants preliminary approval of the proposed Settlement Agreement; (2) approves the proposed

Notice to members of the conditionally certified collective action, as well as the proposed

method of distribution of the settlement proceeds; and (3) sets the date for the Final Approval

Hearing.
 Case: 1:14-cv-05509 Document #: 748 Filed: 02/15/21 Page 8 of 32 PageID #:18651




                     FACTUAL AND PROCEDURAL BACKGROUND

       On July 18, 2014, Plaintiffs Emily Brunner and Caitlin Turowski – both employees of

Jimmy John’s restaurants that were owned and operated by independent franchisees – filed

Brunner, et al. v. Jimmy John’s, LLC, et al., No. 14-CV-5509, in the U.S. District Court for the

Northern District of Illinois, against Jimmy John’s and certain franchisee defendants. In Brunner,

the plaintiffs brought a nationwide putative collective action for unpaid overtime on behalf of all

Assistant Store Managers (“ASMs”) who worked at one (or more) franchisee-owned or

corporate-owned Jimmy John’s restaurants across the country.

       On February 25, 2015, another employee of a franchisee-owned restaurant, Alexander

Whiton, filed a separate collective action complaint entitled Whiton v. Jimmy John’s, LLC, et al.,

Case No. 15-CV-1681, in the U.S. District Court for the Northern District of Illinois. On March

12, 2015, the Court consolidated the Whiton action with the Brunner action.

       On March 2, 2015, another employee of a franchisee-owned restaurant, Scott Watson,

filed a nearly identical action against Jimmy John’s in the U.S. District Court for the Southern

District of Ohio, entitled Watson v. Jimmy John’s, LLC, et al., No. 15-CV-768 (S.D. Ohio). The

Southern District of Ohio subsequently transferred that case to the Northern District of Illinois,

where it was also eventually consolidated with Brunner and Whiton, and then renamed In Re

Jimmy John’s Overtime Litigation.

       Subsequently, first in the Watson case and then in the consolidated case, FLSA Section

16 notice was approved to be sent to individuals who were employed by Jimmy John’s

franchisees, not by Jimmy John’s itself, and just under 600 of these individuals – the “Franchise

Opt-Ins” – joined the conditionally certified collective action predicated on Plaintiffs’ theory that

Jimmy John’s could be held liable as their joint-employer, a theory that Jimmy John’s contested




                                                  2
    Case: 1:14-cv-05509 Document #: 748 Filed: 02/15/21 Page 9 of 32 PageID #:18652




from the beginning of this litigation.1 There were also a smaller number, 66, opt-ins, who had

worked as ASMs for Jimmy John’s itself and who joined the case (the “Corporate Opt-Ins”).

After a series of contested motions and conferences before the Court, the Court first moved

forward with addressing the merits of the franchisee-employed individuals. Thereupon, for

nearly a year there was full and extensive discovery regarding their claims, which led to the

filing of a Motion for Partial Summary Judgment on Issue of Joint-Employer Status by Jimmy

John’s on May 17, 2017, which the Court granted on June 14, 2018. That decision held that the

Jimmy John’s Defendants may not be held liable under a joint-employer theory to Plaintiffs and

Opt-Ins who were employed by independent franchisees (the “Joint Employer Decision”). (See

ECF No. 621.) Those Plaintiffs and Opt-Ins, however, have never been formally dismissed from

this lawsuit. Moreover, the Joint Employer Decision did not resolve the claims of the 66

Corporate Opt-Ins.

        Throughout the case, and up through the Joint Employer Decision, and following it as the

Parties addressed its ramifications and the next steps in addressing the claims of the 66 Corporate

Opt-Ins, Counsel for the Parties vigorously pursued their positions and the rights of their clients

through extended legal and factual analysis, discovery, and exchanges of information.

        Following upon earlier efforts, on September 22, 2020, the Parties engaged in a

mediation in an effort to resolve all remaining claims in this lawsuit. The mediation was presided

over by Hunter Hughes, Esq., a highly respected mediator with extensive experience mediating



1
  Jimmy John’s itself had no complete list of the individuals employed by franchisee operations,
just some names and in some cases email addresses or other forms of contact information that
had been collected for various purposes, most notably the manager training program. In
substantial measure, the list of names to whom conditional certification notice was sent was
obtained by Plaintiffs’ counsel, which effort took a substantial amount of time and effort,
including a large number of third-party subpoenas.


                                                 3
    Case: 1:14-cv-05509 Document #: 748 Filed: 02/15/21 Page 10 of 32 PageID #:18653




wage-and-hour class action and collective action matters. In preparation for this mediation,

counsel for the Parties exchanged extensive information and data, and engaged in good faith,

arms-length negotiations. At the mediation, the parties were able to narrow the issues, identify

areas of agreement, and make concessions when appropriate, all of which was overseen by the

mediator. With Mr. Hughes’s assistance, the Parties subsequently reached an agreement in

principle, which agreement has been clarified and memorialized in the Settlement Agreement

that is attached hereto as Exhibit 1.

         Plaintiffs and the Jimmy John’s Defendants, along with their respective counsel, believe

it is in their best interest to resolve this matter at this time. Collective Action Lead Counsel,2

acting in the best interest of the members of the conditionally certified collective action, wish to

resolve this matter in a fair and cost-effective manner that would benefit the Collective Action

Members without the expense, delay, diversion, and risk of protracted and complex litigation.

For the Franchise Opt-ins, whose claims have been dismissed on the merits by the Joint

Employer Decision, it will provide a tangible benefit and avoid the possibility of losing on an

appeal to the Court of Appeals, which appeal could only be taken after final judgment. As to the

Corporate Opt-ins, the settlement will avoid a potentially lengthy – at least another year – of

“second stage” FLSA discovery, a possible motion for decertification, and all the risks and

expenses attendant upon the full litigation of FLSA misclassification claims. The Settlement

would also provide for payment this year, which, for many Collective Action Members would be

an extraordinarily welcome event given the difficulties for so many individuals created by the

Covid pandemic.



2
  Unless otherwise defined herein, capitalized terms shall have the same meaning ascribed to
them in the attached Settlement Agreement. (See Exhibit 1.)


                                                   4
 Case: 1:14-cv-05509 Document #: 748 Filed: 02/15/21 Page 11 of 32 PageID #:18654




         The Jimmy John’s Defendants and their counsel also wish to avoid the expense, burden,

diversion, and risk of protracted litigation, and wish to resolve this matter on the agreed-upon

terms.

         At all times, the negotiations leading to the Settlement Agreement were adversarial and

non-collusive. After extensive arm’s-length negotiations between the Parties and their counsel,

the Parties have reached a proposed Settlement Agreement as to all claims in this litigation. The

Parties have memorialized their agreed proposed resolution in the Settlement Agreement,

attached hereto as Exhibit 1. The Settlement Agreement is proposed for the sole purpose of

settling all claims brought, or which could have been brought, in this litigation on a global basis.

It was made to compromise bona fide disputed claims, and the Parties submit that it should be

approved by the Court.

                  OVERVIEW OF SETTLEMENT AGREEMENT TERMS

         A.     The Proposed Collective Action Members And Collective Action Period

         The Collective Action Members whose claims would be impacted by the Settlement

Agreement consist of: (i) the specific Named Plaintiffs (the “Plaintiffs” as defined herein); (ii)

the sixty-six (66) Corporate Opt-Ins, who were employed at restaurants owned and operated by

Jimmy John’s, including Andrew Rogers, who substituted as a Named Plaintiff for the

conditionally certified collective action of Corporate Opt-Ins; and (iii) the 574 Franchise Opt-Ins

who were employed at restaurants owned and operated by Jimmy John’s franchisees. (See Ex. 1,

¶¶ 4, 6, 13.) All of those Plaintiffs and Opt-Ins submitted forms consenting to join this litigation.

For clarity, the Corporate Opt-Ins and the Franchise Opt-Ins are specifically identified on

Exhibits A and B of the Settlement Agreement, respectively.




                                                  5
 Case: 1:14-cv-05509 Document #: 748 Filed: 02/15/21 Page 12 of 32 PageID #:18655




       B.      Settlement Amount And Payments To Collective Action Members

       The Jimmy John’s Defendants have agreed to settle this lawsuit for up to $1,834,700.

That amount would be deposited into a Gross Settlement Fund, which would be comprised of: (i)

a Corporate Opt-In Fund, which is the $272,500 set aside to make Settlement Payments to the 66

Corporate Opt-Ins and to pay any employer-side taxes arising from those Settlement Payments;

(ii) the Gift Card Amount, which, as described below, would be comprised of the 1,722

individual Gift Cards worth $100 each that would constitute the Settlement Payments to

Franchise Opt-Ins (who would each receive three Gift Cards for a total value of $300), whose

claims were dismissed on their merits by the Joint Employer Decision; and (iii) the Fee Fund,

which is the $1.39 million of the Gross Settlement Fund from which attorneys’ fees, costs,

Service Awards, and Administration Costs shall be paid. (Id. ¶¶ 7, 10, 16, 49.)

       The Corporate Opt-Ins will receive settlement payments reflective of their pro rata share

of the Corporate Opt-In Fund, which is based on the number of weeks they worked for the

Jimmy John’s Defendants during their Individual Collective Action Periods. (Id. ¶ 53.) Each

Franchise Opt-In would receive an equal Settlement Payment in the form of three $100 Gift

Cards each. (Id. ¶ 57.) Two particularly notable points are that: (1) as to the Gift Cards, they shall

be freely transferable and the proposed Settlement Administrator, AB Data, Ltd., will provide a

resell market for them; and (2) the Settlement Agreement would not require any Collective

Action Member to submit a claim form to receive a Settlement Payment. (Id.)

       C.      Release Of Claims

       Collective Action Members who do not exclude themselves from the Settlement will

release and discharge the Released Parties from all claims asserted in the operative complaints

that were filed in the three underlying actions comprising this consolidated lawsuit, including

any claims for allegedly unpaid overtime, interest, and statutory penalties. (Id. ¶90) All


                                                  6
 Case: 1:14-cv-05509 Document #: 748 Filed: 02/15/21 Page 13 of 32 PageID #:18656




Settlement Collective Action Members will also release their right to appeal any orders entered

by the Court in this Litigation. (Id.)

        D.      Settlement Administration

        The Parties have selected AB Data, Ltd. to act as the Settlement Administrator. AB Data,

Ltd. is an extremely experienced Settlement Administrator, and it has undertaken to provide a

secondary resell market for the Gift Cards that the Franchise Opt-Ins shall receive.

        E.      Notice Of Settlement

        The Parties’ proposed notice program includes a proposed Notice (attached hereto as

Exhibit 1-E), that notifies Collective Action Members of, among other things, the claims in the

case, the Gross Settlement Amount, the Net Settlement Amount available for distribution to

Settlement Collective Action Members, the amount requested for Collective Action Lead

Counsel’s fees and costs, and the Service Award request. Collective Action Members will

receive their notices by first-class mail from the Settlement Administrator, with additional

avenues available to them thereafter to obtain more information about the Settlement.

        F.      Extra Procedural Protections By Allowing Opt-In Plaintiffs The Right To
                Object And Opt Out Of The Settlement

        Collective actions under the FLSA are fundamentally different than class actions raised

under Fed. R. Civ. P. 23. Genesis Healthcare Corp. v. Symczyk, 133 S. Ct. 1523, 1529 (2013).

The due process concerns present in the settlement of Rule 23 class actions are not present in

collective actions brought under the FLSA because there are no absent class members who will

be bound to a release of their claims. Castillo v. Noodles & Co., No. 16-CV-03036, 2016 WL




                                                 7
    Case: 1:14-cv-05509 Document #: 748 Filed: 02/15/21 Page 14 of 32 PageID #:18657




7451626, at *1 (N.D. Ill. Dec. 23, 2016).3 As a result, to approve an FLSA collective action

settlement, a district court need only engage in a one-step process. Briggs v. PNC Fin. Servs.

Group, Inc., No. 15-CV-10447, 2016 WL 7018566, at *1 (N.D. Ill. Nov. 29, 2016) (St. Eve, J.)

(citing Koszyk v. Country Fin. a/k/a CC Servs., Inc., No. 16-CV-3571, 2016 WL 5109196, at *1

(N.D. Ill. Sept. 16, 2016) (“‘A step-one settlement approval process is appropriate[ ]’ in FLSA

settlements.”)).4 Although district courts in the Northern District of Illinois do not require a two-

stage settlement process, the parties here have nonetheless included settlement terms that allow

each Collective Action Member the chance to object to the settlement and exclude themselves

from the settlement if they so desire. (Id. ¶¶ 64-68.) Per the terms of the Settlement Agreement,


3
 See also Bozak v. FedEx Ground Package Sys., Inc., No. 11-CV-738, 2014 WL 3778211 (D.
Conn. July 31, 2014) (resolving FLSA settlement with one step and explaining differences
between collective actions under Section 216(b) of FLSA and Rule 23 class actions).
4
  See Bainter v. Akram Investments, LLC, No. 17-CV-7064, 2018 WL 4943884 (N.D. Ill. Oct. 9,
2018) (order approving collective action settlement using a one-step approval process); Brewer
v. Molina Healthcare, Inc., No. 16-CV-09523, 2018 WL 2966956, at *1 (N.D. Ill. June 12, 2018)
(same); Burns v. Respite Care/Care in the Home, Inc., No. 17-CV-00971 (N.D. Ill. Mar. 1, 2018)
(same); Day v. NuCO2 Mgmt., LLC, No. 18-CV-02088, 2018 WL 2473472, at *1 (N.D. Ill. May
18, 2018) (“A one-step settlement approval process is appropriate for this FLSA overtime
collective action, and has been used in other collective actions.”); Furman v. At Home Stores,
LLC, No. 16-CV-08190, 2017 WL 1730995, at *1 (N.D. Ill. May 1, 2017) (order approving
settlement which included step-one approval process); Stokes v. Consol. Wings Inv., LLC, No.
15-CV-01932-RLY-DKL (S.D. Ind.), ECF NO. 61 (approving FLSA collective action settlement
in one step); Castillo v. Noodles & Co., No. 16-CV-030306, 2016 WL 7451626, at *1 (N.D. Ill.
Dec. 23, 2016) (granting request for one-step approval process); Watson v. BMO Fin. Corp. and
BMO Harris Bank, N.A., No. 15-CV-11881 (N.D. Ill. July 11, 2016) (St. Eve, J.), ECF Nos. 34,
39 (granting request for one-step approval process); Carr v. Bob Evans Farms, Inc., No. 1:17-
CV-1875, 2018 WL 7508650, at *2 (N.D. Ohio July 27, 2018); Heuberger v. Smith, No. 3:16-
CV-386 JD, 2019 WL 3030312, at *2-3 (N.D. Ind. Jan. 4, 2019) citing Knox v. Jones Grp., No.
15-CV-1738, 2017 WL 3834929, at *2 (S.D. Ind. Aug. 31, 2017) (order approving settlement
which included step-one approval process); Bloomberg BNA, The Fair Labor Standards Act,
17.X.D. (3d ed. 2017) (“A collective action settlement may be brought to the court on a single
motion to approve the settlement and enter a stipulated judgment.”); Moore v. Ackerman Inv.
Co., No. 07-CV-3058, 2009 WL 2848858, at *2 (N.D. Iowa Sept. 1, 2009) (“Section 216(b) does
not expressly require a ‘fairness’ hearing on a proposed settlement, as Rule 23 of the Federal
Rules of Civil Procedure does for class actions pursuant to that rule, and Rule 23 requirements
are not directly applicable to a collective action pursuant to § 216(b).”).


                                                  8
 Case: 1:14-cv-05509 Document #: 748 Filed: 02/15/21 Page 15 of 32 PageID #:18658




any Collective Action Member who chooses to opt-out of the settlement shall be deemed to have

withdrawn his or her consent to join and participate in this Litigation, will be dismissed from the

Litigation without prejudice, will not be bound by any of the orders or judgments entered by the

Court in this Litigation, and therefore will not have any right to appeal any of those orders. (See

id. ¶ 68; see also Halle v. W. Penn Allegheny Health Sys. Inc., 842 F.3d 215, 230 (3d Cir. 2016)

(“When the opt-in plaintiffs were dismissed without prejudice, they did not suffer an adverse

judgment on the merits of any claim. They lost nothing but the ability to proceed in [named

plaintiff’s] case. This does not give rise to a right to pursue an appeal from [named plaintiff’s]

individual final judgment.”)).

       G.      Service Awards

       The Settlement Agreement provides that the Named Plaintiffs Lara Bailey (substituted

for Emily Brunner), Caitlin Turowski, Alexander Whiton, Scott Watson and Andrew Rogers

may apply for Service Awards, meaning separate payments from the Gross Settlement Fund of

$2,500 each that would be made to each of the Named Plaintiffs as collective action

representative service award payments and for resolution and release of their claims against the

Jimmy John’s Defendants in this Litigation, and any claims against the Jimmy John’s Defendants

arising out of or relating to their employment or the termination of their employment with Jimmy

John’s or any Jimmy John’s franchisee. (Id. ¶ 77.) All such Service Awards are subject to the

Court’s approval. (Id.)

       H.      Attorneys’ Fees And Costs

       Collective Action Lead Counsel will apply to the Court for payment of attorneys’ fees

and costs to come from the Gross Settlement Fund. As further explained below, the total fees

sought shall not exceed $1.1 million, and the total costs sought shall not exceed $250,000, which

is but a small fraction of the total expenses and lodestar incurred by Plaintiffs’ Counsel. (Id. ¶


                                                  9
 Case: 1:14-cv-05509 Document #: 748 Filed: 02/15/21 Page 16 of 32 PageID #:18659




85.) The Jimmy John’s Defendants have agreed not to object to Collective Action Lead

Counsel’s request for fees and costs, subject to these agreed-upon limits and applicable law. (Id.)

The Notice will advise Collective Action Members about this process for the request for

Collective Action Lead Counsel’s fees and costs. (See Ex. 1-E.)

                                          ARGUMENT

I.     LEGAL STANDARD

       A district court may approve the settlement of claims arising under the FLSA that were

reached as a result of contested litigation to resolve a bona fide dispute between the parties.

Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350, 1354 (11th Cir. 1982). Court approval

of FLSA settlements consistent with the Eleventh Circuit’s holding in Lynn's Food Stores is the

norm in the Seventh Circuit. See, e.g., Adams v. Walgreen Co., No. 14-CV-1208-JPS, 2015 WL

4067752 (E.D. Wis. July 2, 2015); Burkholder v. City of Ft. Wayne, 750 F. Supp. 2d 990, 994

(N.D. Ind. 2010) (“[S]tipulated settlements in a FLSA case must be approved by the Court.”)

(quoting Misiewicz v. D’Onofrio Gen. Contractors, No. 08-CV-4377, 2010 WL 2545439, at *3

(E.D.N.Y. May 17, 2010)). Acoordingly, the Court should perform two inquiries before

approving an FLSA settlement. First, the Court must be satisfied that the settlement was the

product of “contested litigation.” Second, the Court must be satisfied that the settlement involves

a fair and reasonable resolution of a bona fide dispute between the parties. Typically, courts rely

on the adversarial nature of a litigated FLSA case resulting in settlement as indicia of fairness.

Lynn’s Food Stores, Inc., 679 F.2d at 1354. If the proposed settlement reflects a reasonable

compromise over contested issues, the Court may approve the settlement in order to promote the

policy of encouraging settlement of litigation. Id.

       The Parties respectfully submit that the proposed Settlement Agreement reached in this

litigation warrants judicial approval.


                                                 10
 Case: 1:14-cv-05509 Document #: 748 Filed: 02/15/21 Page 17 of 32 PageID #:18660




II.    THE PROPOSED SETTLEMENT IS THE PRODUCT OF CONTESTED
       LITIGATION

       The Court can take notice that this Settlement is a result of contested litigation. The

lawsuit was resolved only after contested motions for opt-in notice, more than 28 depositions

across the United States, written discovery and the production of more than a million pages of

documents, expert discovery and depositions, dispositive motions, and a day-long mediation.

Accordingly, the Court should conclude that the proposed Settlement was the product of

contested litigation.

III.   THE SETTLEMENT AGREEMENT REFLECTS A FAIR AND REASONABLE
       RESOLUTION OF A BONA FIDE DISPUTE

       The second prong of the Court’s settlement approval inquiry focuses on two issues. The

first issue is confirming the existence of a bona fide dispute between the parties. The second

issue involves a review of the fairness and reasonableness of the proposed settlement. As

explained below, the Court should readily conclude that both issues implicated by this second

prong of the Court’s settlement approval inquiry are satisfied.

       1.      A Bona Fide Dispute Between The Parties Existed Over Defendant’s
               “Employer” Status

       All of the Named Plaintiffs in this lawsuit and the Franchise Opt-Ins, the vast majority of

those who opted-in to the conditionally certified collective action were employees of franchisee-

owned restaurants, meaning that they were employed by owner/operators of independent

franchise restaurants and not by any of the Jimmy John’s entities. The 66 Corporate Opt-Ins

worked at corporate-owned restaurants and were therefore employed by Jimmy John’s. Because

employees of franchisee-owned restaurants were not employed by Jimmy John’s, the Franchise

Opt-Ins’ claims depended entirely on their theory that Jimmy John’s should be found as a matter




                                                11
 Case: 1:14-cv-05509 Document #: 748 Filed: 02/15/21 Page 18 of 32 PageID #:18661




of law to be a “joint employer,” and therefore liable, along with the Franchise Opt-Ins’ actual

employers, for the purported employment-law violations described in the various complaints.

       That joint-employer theory was rejected by the Court on June 14, 2018, and those claims

were dismissed on summary judgment. Although that ruling effectively extinguished the claims

of all the Named Plaintiffs (except Andrew Rogers, substituted Named Plaintiff for the Corporate

Opt-Ins) and hundreds of Franchise Opt-Ins, those parties were never formally dismissed from

the lawsuit. That decision also left intact the claims of the 66 Corporate Opt-Ins who had opted-

in to the conditionally certified collective action because their claims do not depend on a joint-

employer theory. At present, therefore, there are still approximately 66 Corporate Opt-Ins who

are proceeding with their claims against Jimmy John’s in a conditionally certified collective

action, as well as 574 Franchise Opt-Ins and Named Plaintiffs who nominally are still in the

lawsuit but whose claims did not survive the Court’s Joint Employer Decision.

       The Franchise Opt-Ins and the Corporate Opt-Ins assert that they were improperly

classified as exempt under the FLSA and consequently denied overtime pay. The Jimmy John’s

Defendants have consistently denied Plaintiffs’ material factual allegations and have asserted an

array of affirmative defenses, most notably that they could not be held liable to Franchise Opt-

Ins because they did not employ those Opt-Ins and were not their joint employers, and because

Corporate Opt-Ins were properly classified as exempt because their primary duties were

managerial in nature, and because they otherwise met the applicable tests to be considered

exempt employees.

       Plaintiffs continue to believe that the claims they propose to settle herein have merit, but

Plaintiffs and their counsel recognize and acknowledge the uncertain outcome and risk of

continuing with this Litigation. Plaintiffs also recognize the expense and complexity of the




                                                 12
 Case: 1:14-cv-05509 Document #: 748 Filed: 02/15/21 Page 19 of 32 PageID #:18662




continued proceedings that would be necessary to prosecute the claims through trial (for the

Corporate Opt-Ins), appeal (for the Franchise Opt-Ins and possibly the Corporate Opt-Ins), as

well as the difficulties and delay inherent in FLSA misclassification litigation. They also believe

that the settlement set forth in the Settlement Agreement confers substantial benefits to them.

Based on their evaluation of the above, Plaintiffs and their counsel have determined that the

proposed settlement set forth in the Settlement Agreement is in Plaintiffs’ best interests and in

the best interests of the conditionally certified collective action.

        The Jimmy John’s Defendants vigorously deny and continue to dispute all of the claims

and contentions alleged in this lawsuit and deny any and all allegations of wrongdoing, fault,

liability or damage of any kind to Plaintiffs or any of the members of the conditionally certified

collective action. However, the Jimmy John’s Defendants recognize and acknowledge the risks

and potential costs of continued litigation of this lawsuit, on the one hand, and the benefits of the

proposed settlement, on the other hand, and desire to settle this lawsuit upon the terms and

conditions set forth in the Settlement Agreement.

        2.      The Settlement Agreement Is Fair And Reasonable

        This Settlement was the product of arm’s-length negotiations by experienced wage and

hour class/collective-action counsel over the course of several months. The Settlement has the

effect of (1) providing pecuniary relief to the Collection Action Members either in the form of

settlement checks or transferable Gift Cards, (2) in exchange for a limited release of the claims

that could have been asserted in the Complaint based on the facts alleged, and (3) eliminating the

inherent risks both sides would bear if this complex litigation continued to resolution on the

merits. Under these circumstances, a presumption of fairness should attach to the Settlement. See

Lynn’s Food Stores, Inc., 679 F.2d at 1354 (recognizing that courts rely on the adversarial nature

of a litigated FLSA case resulting in settlement as indicia of fairness); Roberts v. Apple Sauce,


                                                  13
    Case: 1:14-cv-05509 Document #: 748 Filed: 02/15/21 Page 20 of 32 PageID #:18663




Inc., No. 12-CV-830, 2014 WL 4804252 (N.D. Ind. Sept. 25, 2014) (“The reviewing Court

normally approves a settlement where it is based on ‘contentious arm’s-length negotiations,

which were undertaken in good faith by counsel’ and where ‘serious questions of law and fact

exist such that the value of an immediate recovery outweighs the mere possibility of further

relief after protracted and expensive litigation.’” (internal citations omitted)).5

         Moreover, consideration of several additional relevant factors, including the following,

confirms that the proposed settlement is fair and reasonable.

                (i)     The Settlement Was Negotiated At Arm’s Length

         The proposed Settlement Agreement was fairly and honestly negotiated through the

Parties’ respective counsel. It is not illegal, a product of collusion, or against the public interest.

Rather, the Parties’ Settlement Agreement is the product of arms-length negotiations that

occurred after six years of vigorous litigation. The Parties completed written, oral, and expert

discovery and attended multiple mediation sessions. This qualifies as an arm’s-length negotiation

and Settlement. See Lucas v. Vee Pak, Inc., No. 12-CV-09672, 2017 WL 6733688, at *12 (N.D.

Ill. Dec. 20, 2017) (settlement was result of arm’s-length negotiations even absent formal

discovery when the parties reached agreement after attending mediation). Courts often rely on

the adversarial nature of a litigated case as an indicia of fairness in the context of an FLSA

settlement. See Lynn’s Food Stores, 679 F.2d at 1354.




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  Courts adhere to “an initial presumption of fairness when a proposed class settlement, which
was negotiated at arm’s length by counsel for the class, is presented for court approval.”
Newberg on Class Actions § 11.41; see also Great Neck Capital Appreciation Inv. P’Ship., LLP
v. PriceWaterhouseCoopers, LLP, 212 F.R.D. 400, 410 (E.D. Wis. 2002) (“A strong
presumption of fairness attaches to a settlement agreement when it is the result of this type of
negotiation.”).


                                                   14
 Case: 1:14-cv-05509 Document #: 748 Filed: 02/15/21 Page 21 of 32 PageID #:18664




               (ii)    The Members Of The Conditionally Certified Collective Action Were
                       Adequately Represented By Collective Action Lead Counsel And
                       Plaintiffs

       Collective Action Lead Counsel are competent attorneys with significant experience

handling matters similar to the instant litigation. Based on their knowledge of the facts and the

applicable law, as well as their experience in similar actions, Collective Action Lead Counsel

believe the settlement is a fair and reasonable compromise of this bona fide dispute. “Although

the Court is not bound by the counsel’s opinion, their opinion is nonetheless entitled to great

weight.” In Re BankAmerica Corp. Sec. Litig., 210 F.R.D. 694, 702 (E.D. Mo. 2002). Here,

Plaintiffs and the members of the conditionally certified collective action were all represented by

counsel with significant experience in litigating misclassification and overtime claims under the

FLSA and have agreed to settle their respective wage claims in accordance with the terms of the

negotiated Settlement Agreement. Because the proposed settlement reflects a reasonable

compromise over contested issues, the court should approve the settlement. See Briggs v. PNC

Fin. Servs. Grp., Inc., No. 1:15-CV-10447, 2016 WL 7018566, at *1 (N.D. Ill. Nov. 29, 2016)

(citing Lynn's Food Stores, 679 F.2d at 1354).

       Collective Action Lead Counsel have discussed the proposed Settlement Agreement with

Plaintiffs, including Andrew Rogers, who was designated as one of the Corporate Opt-Ins to act

as the Named Plaintiff for the conditionally certified collective action of Corporate Opt-Ins, and

to act as their agent and to make decisions on their behalf about the consolidated lawsuits,

including with respect to settlement. (See ECF No. 656.) Plaintiffs and Collective Action Lead

Counsel have executed the proposed Settlement Agreement on behalf of themselves and all

members of the conditionally certified collective action, indicating their approval of the

settlement. In light of the risks of moving forward with the Litigation, the complexity of this

case, the defenses the Jimmy John’s Defendants have raised, and the costs of proceeding to trial


                                                 15
 Case: 1:14-cv-05509 Document #: 748 Filed: 02/15/21 Page 22 of 32 PageID #:18665




and/or appeal, they have determined that the proposed terms of the settlement are fair and

reasonable. The Settlement Agreement would provide Plaintiffs and all members of the

conditionally certified collective action with meaningful monetary relief – which is set forth in

detail in the Settlement Agreement documents – without the risk, delay, and expense of trial and

post-trial proceedings, including appeal. In light of the risks of recovering nothing, this is a fair

and reasonable Settlement.

               (iii)   The Settlement Would Provide Adequate Relief To The Plaintiffs And
                       The Settlement Collective Action Members

       The Settlement Agreement provides that the 66 Corporate Opt-Ins will receive a pro rata

share of the $272,500 Corporate Opt-In Fund, which is the portion of the Gross Settlement Fund

that has been designated to make Settlement Payments to the Corporate Opt-Ins. Although that

amount can be adjusted upward pursuant to the terms of the Settlement Agreement, in no event

shall that amount be adjusted downward. Corporate Opt-Ins will be entitled to a share of the

Corporate Opt-In Fund based on the number of weeks they worked for the Jimmy John’s

Defendants using a formula that takes account of each Corporate Opt-Ins’ Eligible Workweeks

as compared to the total number of Eligible Workweeks for all Corporate Opt-Ins. Under this

formula, the average amount paid to each Corporate Opt-In would be approximately $4,128.79.

       Unlike the Corporate Opt-Ins, the Franchise Opt-Ins were never employed by the Jimmy

John’s Defendants and their claims have been effectively negated by the Court’s Joint Employer

Decision. Nevertheless, the Settlement Agreement provides that each Franchise Opt-In will be

entitled to receive three transferable Gift Card in the amount of $100 each (for a total value of

$300 each) in exchange for their agreement to finally settle their claims. This is fair

consideration in light of the Court’s ruling that the Jimmy John’s Defendants cannot be held

liable to the Franchise Opt-Ins under a joint-employer theory.



                                                  16
 Case: 1:14-cv-05509 Document #: 748 Filed: 02/15/21 Page 23 of 32 PageID #:18666




       The Seventh Circuit has identified due process concerns with certain forms of “coupon

settlements,” where those settlements offer coupons of modest value compared to new purchases,

when they expire soon, and when they are not transferable and cannot be aggregated, among

other things. See In Re Southwest Airlines Voucher Litig., 799 F.3d 701, 705-06 (7th Cir. 2015).

The terms of the Gift Cards provided for in the Settlement Agreement avoid those concerns

because $300 is a high value when compared to the average price of a sandwich or full meal at a

Jimmy John’s-branded restaurant. Accordingly, Franchise Opt-Ins would in all likelihood be able

to use those Gift Cards many times over without having to expend any additional money to

realize their value. The Gift Cards are also subject to a number of terms and conditions that make

them more valuable to the Franchise Opt-Ins and avoid the issues that the Seventh Circuit has

found problematic:

               a. They will be redeemable and usable like cash at any Jimmy John’s location in
                  the United States (including franchise locations), without being subject to any
                  “blackout” periods during which they cannot be used.

               b. There will be no requirement for the recipients to make any additional
                  purchases in order to use their Gift Cards.

               c. They will be freely transferrable and may be sold to third parties for cash.
                  Jimmy John’s will not oppose Franchise Opt-Ins being notified of an option and
                  mechanism, pre-arranged by Collective Action Lead Counsel, to sell their Gift
                  Cards to a third-party for cash and Collective Action Lead Counsel have been
                  working with AB Data, Ltd. to provide such a market.

               d. They will be “stackable,” meaning that they are not limited to one per recipient
                  and are usable in conjunction with other promotional items.

               e. They can be used multiple times until their credit is exhausted.

               f. They can be used without the Franchise Opt-Ins having to identify themselves
                  or demonstrate that they were entitled to the Gift Cards in connection with this
                  Litigation.

(Exhibit 1, Settlement Agreement, ¶ 57.) Altogether, this provides fair value to these individuals’

claims which were brought on a novel theory of “joint employer” liability but which were, in


                                                17
    Case: 1:14-cv-05509 Document #: 748 Filed: 02/15/21 Page 24 of 32 PageID #:18667




fact, dismissed on their merits after full discovery and briefing on a motion for summary

judgment.6

         In addition to fair monetary value, the Settlement Agreement also proposes a fair method

of distributing and processing Settlement Payments to the Corporate Opt-Ins and the Franchise

Opt-Ins. Pursuant to the Settlement Agreement, Notice will be sent to each member of the

conditionally certified collective action at their last known address. (Ex. 1, ¶ 61.) (The Notice

forms are slightly different for Corporate Opt-Ins and Franchise Opt-Ins, see Exhibit 1-E). The

addresses of Corporate Opt-Ins will be provided by the Jimmy John’s Defendants from those

Opt-Ins’ employment records. (Id. ¶ 59.) The addresses of Franchise Opt-Ins will be provided by

Collective Action Lead Counsel based on the addresses provided by Franchise Opt-Ins on their

opt-in consent forms. (Id. ¶ 60.) The Settlement Administrator is allowed to use reasonable


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  See, e.g., In re Toys “R” Us-Del., Inc.-Fair & Accurate Credit Transactions Act (FACTA)
Litig., 295 F.R.D. 438, 444, 467 (C.D. Cal. 2014) (“Compromise is an inherent part of the
settlement process, and the fact that the settlement provides a voucher rather than cash does not
reflect a poor outcome for the class, especially given the fact that class members risked
recovering no damages if the case had proceeded and the class had been unable to prove
willfulness.”); Shames v. Hertz Corp., No. 07-CV-2174, 2012 WL 5392159, at *3, *7 (S.D. Cal.
Nov. 5, 2012) (noting that voucher for one free rental day (time and mileage) on any class of car
up to full size, value of which could range from $40 to more than $100, represented minimum of
1,333% value above actual damages); Fernandez v. Victoria Secret Stores, LLC, No. 08-CV-
04149, 2008 WL 8150856, at *1-2, *6-7, *16 (C.D. Cal. July 21, 2008) (noting $67.50 gift cards
compared to approximately $7 in allegedly unpaid wages per class member as giving each class
member “significantly more than she would have earned had Victoria’s Secret paid her for her
work”). See also Johnson v. Ashley Furniture Indus., No. 13-CV-2445, 2016 WL 866957, at *4
(S.D. Cal. Mar. 7, 2016) (approving settlement where vouchers would be useful to the class,
noting that a survey of putative class members indicated that a “large percentage of these
customers engaged in two or more purchase transactions during the class period”);.Torres v. Pet
Extreme, No. 1:13-CV-01778, 2015 WL 224752, at *6-7, *15 (E.D. Cal. Jan. 15, 2015)
(approving settlement where $45 gift cards were transferrable and would not expire); Young v.
Polo Retail, LLC, No. 02-CV-4546, 2007 WL 951821, at *1, *4 (N.D. Cal. Mar. 28, 2007)
(while noting that the “primary downside of the proposed settlement is the use of product
vouchers in the settlement award,” also noting as “compelling” that gift cards were transferrable,
as that would “enable[] class members to obtain cash – something all class members will find
useful”).


                                                 18
 Case: 1:14-cv-05509 Document #: 748 Filed: 02/15/21 Page 25 of 32 PageID #:18668




efforts to locate a current address for any Opt-In whose Settlement Payment is returned as

undeliverable. (Id., ¶¶ 70, 72.) Settlement Collective Action Members will not have to return

claim forms in order to receive their Settlement Payments. The Settlement Administrator will

mail checks to all Settlement Collective Action Members who do not timely exclude themselves

from the Settlement. This is an efficient and effective method of distributing the Settlement

Payments to Settlement Collective Action Members.

                (iv)    Substantial Obstacles Exist If The Litigation Continues, And The
                        Settlement Offers Substantial, Immediate Relief

        As noted above, this case has already proceeded through a dispositive motion, an appeal

looms, and the parties otherwise disagree about the merits of Plaintiffs’ claims and the viability

of Defendants’ various defenses. If the litigation had continued, Plaintiffs would have faced

many obstacles and uncertainties, including the outcome of an appeal to the Seventh Circuit,

summary judgment and/or decertification with respect to the Corporate Opt-Ins, and potentially a

trial. Furthermore, even if Plaintiffs ultimately prevailed on the issue of liability, Plaintiffs would

need to prove the amount of damages suffered.

        The Settlement compensates all the Collective Action Members (who do not seek to opt-

out) and eliminates the possibility of a dismissal, decertification, loss at trial, or loss on appeal.

Consequently, this Settlement brings value now, as opposed to years from now, and provides a

certainty of result, which is, as noted, of particular value during the Covid pandemic. The

substantial benefit that Settlement Class members will immediately receive is a significant factor

weighing in favor of the Court’s approval of the proposed Settlement. In addition, Collective

Action Members may elect not to participate in the Settlement and therefore not release their

individual overtime wage claims.




                                                   19
    Case: 1:14-cv-05509 Document #: 748 Filed: 02/15/21 Page 26 of 32 PageID #:18669




IV.      NAMED PLAINTIFFS WERE CRITICAL TO THE RESOLUTION OF THE
         CLAIMS AND ARE ENTITLED TO MODEST SERVICE AWARDS

         The Settlement Agreement provides for Service Payments to the Five Named Plaintiffs,

Bailey, Turowski, Whiton, Watson, and Rogers in the amount of $2,500 each. These payments

are in addition to any payment that they receive in the form of Gift Cards or, for Rogers, as the

pro rata share of the Corporate Opt-In Fund. (Id. ¶¶ 77-78.) Named plaintiffs in collective or

class action lawsuits play a crucial role in helping to bring claims that might otherwise not be

pursued. “Because a named plaintiff is an essential ingredient of any class action, an incentive

award is appropriate if it is necessary to induce an individual to participate in the suit.” Cook v.

Niedert, 142 F.3d 1004, 1016 (7th Cir. 1998); Zolkos v. Scriptfleet, Inc., No. 12-CV-8230, 2015

WL 4275540, at *3 (N.D. Ill. July 13, 2015) (awarding $10,000 each as service awards to six

named plaintiffs in a wage action).

         The amount of the requested payments are also consistent with service payments recently

awarded in other FLSA actions. See, e.g., Briggs, 2016 WL 7018566, at * 3 (approving $12,500

service award each to two plaintiffs in FLSA settlement); Castillo, 2016 WL 7451626, at *6-8

(approving $10,000 service award each for four named plaintiffs in FLSA wage action).7 The


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  See also, Koszyk v. Country Fin., No. 16-CV-3571, 2016 WL 5109196, at *6-7 (N.D. Ill. Sept.
16, 2016) (approving $10,000 service payments for each of seven plaintiffs in a FLSA collective
action); see also Lukas v. Advocate, No. 1:14-CV-2740, D.E. 150 (N.D. Ill. June 29, 2016)
(approving $15,000 service award to named plaintiff in FLSA wage action); Hart v. RCI Hosp.
Holdings, Inc., No. 09-CV-3043 PAE, 2015 WL 5577713, at *19 (S.D.N.Y. Sept. 22, 2015)
(approving $15,000 service payments for each of two named plaintiffs in state and federal wage
action); Puglisi v. TD Bank, N.A., No. 13-CV-637 GRB, 2015 WL 4608655, at *1 (E.D.N.Y.
July 30, 2015) (approving $15,000 service payments to two class representatives in combined
Rule 23 class action and FLSA collective action); see also 4 Newberg on Class Actions § 11.38,
at 11- 80 (citing empirical study from 2006 that found average award per class representative to
be $16,000) See Soto v. Wings R Us Romeoville, Inc., No. 15-CV-10127, 2018 WL 1875296, at
*3 (N.D. Ill. Apr. 16, 2018) (in FLSA settlement, approving service award of $7,500 to the
named plaintiff, $1,000 each to 8 opt-in plaintiffs who gave deposition testimony, and $500 to an
Opt-in Plaintiff who gave a declaration but did not sit for a deposition); Knox v. The Jones
Group, No. 15-CV-1738 SEB-TAB, 2017 WL 3834929, at *3 (S.D. Ind. Aug. 31, 2017) (in


                                                 20
    Case: 1:14-cv-05509 Document #: 748 Filed: 02/15/21 Page 27 of 32 PageID #:18670




requested Service Awards in the total amount of $12,500 also represent only .006% of the Gross

Settlement Fund, which is a reasonable percentage. Parker v. Jekyll & Hyde Entm’t Holdings,

L.L.C., No. 08-CV-7670, 2010 WL 532960, at *2 (S.D.N.Y. Feb 9, 2010) (finding that service

awards totaling approximately 11% of total recovery are reasonable); Reyes v. Buddha-Bar

NYC, No. 08-CV-2494, 2009 WL 5841177, at *8, *13 (S.D.N.Y. May 28, 2009) (awards of

$7,500 each to three named plaintiffs, representing approximately 3 percent of the total

$710,000 settlement amount, was reasonable).

V.       COLLECTIVE ACTION LEAD COUNSEL’S DISCOUNTED ATTORNEY’S
         FEES AND COSTS SHOULD BE APPROVED

         The Settlement Agreement provides for the establishment of a Fee Fund, which is the

$1.39 million of the Gross Settlement Fund that is set aside to pay Collective Action Lead

Counsel’s fees and costs, Service awards to the Named Plaintiffs, and Administration Costs. (Ex.

1 ¶ 10.)

         The Fee Fund will compensate Plaintiffs’ Counsel for but a fraction of time and expense

that they put into the case. Plaintiffs’ Counsel’s current lodestar is in excess of $5.9 million and

their reasonably incurred costs exceed $800,000.8 After costs and fees of the independent third-

party administrator and Service Payments, which are estimated to be $27,500 are deducted from

the $1.39 million Fee Fund, the net amount available to Plaintiffs’ Counsel is estimated to be

$1,362,500, which is therefore but 20% of their combined lodestar and costs incurred in the

litigation. Indeed, given that Plaintiffs’ expenses alone were $800,000, the amount of fee of


FLSA settlement, approving service awards of $7,500 each to two Named Plaintiffs, $1,000 each
to 22 opt-in plaintiffs who gave deposition testimony, and $250 each to eight opt-in plaintiffs
who gave declarations).
8
  Counsel can represent to the Court these numbers which, we submit, should obviate the need
for an extensive demonstration of the time and effort put into the case. But should the Court
desire further detail of any sort and extent, it can be made available.


                                                 21
     Case: 1:14-cv-05509 Document #: 748 Filed: 02/15/21 Page 28 of 32 PageID #:18671




 approximately $560,000 will mean that Plaintiffs’ Counsel will get less than 10% of their time.

 Further, this steeply discounted recovery against the time an expenses Plaintiffs’ Counsel put in

 does not take into consideration the future time and costs Collective Action Lead Counsel will

 spend fulfilling their obligations in the Settlement Agreement, obtaining this preliminary

 approval and final approval, conferring with the Settlement Administrator, monitoring the

 administration of the Settlement, and responding to the Opt-in Plaintiffs’ inquiries. If approved

 by the Court, the award of attorneys’ fees and costs will be paid by the Settlement Administrator

 from the Gross Settlement Fund to Collective Action Lead Counsel within thirty-five days after

 the Effective Date of the Settlement.9

                                            CONCLUSION

          For all the foregoing reasons, the Parties respectfully request that this Court grant their

 Joint Motion for Approval of Collective Action Settlement Agreement and issue an Order in the

 form of the proposed Preliminary Approval Order, which is attached hereto as Exhibit 1-C.

DATED: February 15, 2021                                Respectfully submitted,


DEFENDANTS JIMMY JOHN’S LLC, JIMMY                      PLAINTIFFS
JOHN’S ENTERPRISES, LLC, AND JIMMY
JOHN’S FRANCHISE, LLC                                   By their attorneys,

By their attorneys,


/s/ Gerald L. Maatman, Jr.                              /s/ Seth R. Lesser
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    Matthew J. Gagnon                                       Fran L. Rudich
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                                                            Two International Drive, Suite 350

 9
   (Ex. 1, ¶ 75.) The Jimmy John’s Defendants have agreed not to oppose Collective Action Lead
 Counsel’s petition for those amounts as attorneys’ fees and reimbursement of litigation expenses,
 to the extent consistent with existing, applicable precedent in the U.S. Court of Appeals for the
 Seventh Circuit. (Id. ¶ 85.)


                                                   22
Case: 1:14-cv-05509 Document #: 748 Filed: 02/15/21 Page 29 of 32 PageID #:18672




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                                         23
Case: 1:14-cv-05509 Document #: 748 Filed: 02/15/21 Page 30 of 32 PageID #:18673




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                                      24
 Case: 1:14-cv-05509 Document #: 748 Filed: 02/15/21 Page 31 of 32 PageID #:18674




                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 15th day of February, 2021, I electronically filed the

foregoing document with the Clerk of Court by using the CM/ECF system, which will send a

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                                        26
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